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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KERA FRAYER-EVANS,                          )
                                            )
       Plaintiff,                           )
                                            )
v.                                          ) Civil Action File No.
                                            )
MIDEA AMERICA CORP.                         )
                                            ) JURY TRIAL DEMANDED
       Defendant.                           )
                                            )

       COMPLAINT FOR DAMAGES AND JURY TRIAL DEMAND

      COME NOW Plaintiff Kera Frayer-Evans, by and through undersigned

counsel, and hereby files this Complaint for Damages and Jury Trial Demand,

respectfully showing the Court as follows:

                             I.    INTRODUCTION

                                       1.

      This is a civil tort action seeking recovery for Plaintiff Kera Frayer-Evans’s

severe burn injuries arising from the use of Defendant’s pressure cooker on January

3, 2024. On that day, Ms. Frayer-Evans was using the subject pressure cooker as it

was intended to prepare food for her family. Without prior warning or notice, the lid
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to the subject pressure cooker detached, causing scalding hot contents of the pressure

to land on Ms. Frayer-Evans, causing first degree burns on her thighs and second

degree burns on her chest, requiring hospitalization. The subject incident occurred

as a result of the failure of the pressure cooker’s supposed “safety measures,” which

purport to keep the consumer safe while using the pressure cooker. In addition, the

incident occurred as the result of Defendant’s failure to redesign the pressure cooker,

despite the existence of economical, safer alternative designs.

   II.      PARTIES, JURISDICTION, VENUE & SERVICE OF PROCESS

                                           2.

         Plaintiff Kera Frayer-Evans is an adult citizen of the United States and a

resident of Douglas County, Georgia. By filing this action, she avails herself of the

jurisdiction and venue of this Court.

                                           3.

         Defendant Midea America Corp. (“Midea America”) is a foreign corporation

doing substantial business in the State of Georgia. Midea America is incorporated

under the laws of Florida with its principal place of business at 300 Kimball Drive,

Suite 201, Parsippany, New Jersey 07054. At all times pertinent to this Complaint,

Defendant Midea America was and is in the business of designing, manufacturing,

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marketing, importing, distributing, and selling a variety of consumer products,

including pressure cookers, air fryers, and blenders, among others. Defendant Midea

America transacts business in this State and derives substantial revenue from

business in this State of Georgia. Defendant Midea America also maintains a

registered agent in this State, Corporation Service Company, 2 Sun Court, Suite 400,

Peachtree Corners, Georgia 30092, where Midea America may be served with legal

process in this case. Because Defendant Midea America transacts business in this

State, derives substantial revenue from this State, and maintains a registered agent

to transact business in this State, jurisdiction and venue are proper in this Court with

respect to Defendant Midea America.

                                           4.

      Personal Jurisdiction over Midea America: Georgia’s Long-Arm Statute.

Defendant Midea America transacts business in the State of Georgia, derives

substantial revenue from goods sold, purchased and/or used in the State of Georgia,

and regularly does or solicits business in Georgia. Midea America also maintains a

registered agent to transact business in the State of Georgia, located at Corporation

Service Company, 2 Sun Court, Suite 400, Peachtree Corners, Georgia 30092.

Under Georgia law, a foreign corporation that is authorized to transact business in

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Georgia is a resident of this State and subject to direct personal jurisdiction in this

State. 1 Thus, this Court has direct personal jurisdiction over Defendant Midea

America as a resident of this State in addition to long-arm personal jurisdiction over

Defendant Midea America under Georgia’s long-arm statute (O.C.G.A. § 9-10-91).

                                            5.

      Personal Jurisdiction over Midea America: Due Process. Defendant Midea

America derives revenue from sales of its consumer products within the State of

Georgia and has purposefully availed itself of the privilege of doing business in

Georgia by intentionally cultivating a market in Georgia and directly marketing to

the Georgia market. In fact, Midea America maintains a registered agent to transact

business in the State of Georgia. Midea America’s actions in marketing and selling

its products throughout Georgia, and maintaining a registered agent to transact




1
       See O.C.G.A. § 9-10-90 (Georgia’s long-arm statute defines “nonresident” to
include a corporation that “is not authorized to do or transact business in this state at
the time a claim or cause of action under [Georgia’s long-arm statute] arises”); see
also Cooper Tire & Rubber Company v. McCall, 312 Ga. 422 (2021); see also
Allstate Inc. Co. v. Klein, 262 Ga. 599, 601 (1992) (The Supreme Court of Georgia
held that a foreign corporation authorized to transact business in Georgia was a
resident for purposes of personal jurisdiction because it did not meet the definition
of “nonresident” in O.C.G.A. § 9-10-90 and could, thus, “sue or be sued to the same
extent as a domestic corporation”).
                                           4
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business in Georgia, should have led it to reasonably anticipate being hailed into

Court here. In short, Midea America has sufficient “minimum contacts” with

Georgia so that subjecting it to personal jurisdiction here does not offend traditional

notions of fair play and substantial justice. Exercising personal jurisdiction over

Midea America in this Court comports with due process.

                                           6.

      Subject-Matter Jurisdiction. This Court has jurisdiction over this case

pursuant to diversity jurisdiction prescribed by 28 U.S.C. § 1332 because the matter

in controversy exceeds the sum or value of $75,000.00, exclusive of interest and

costs, and there is complete diversity between the parties.

                                           7.

      Venue. Venue is proper in the United States District Court for the Northern

District of Georgia, Atlanta Division, pursuant to 28 U.S.C. § 90(a)(2) and LR

3.1(B)(1)-(3), N.D. Ga., because Defendant Midea America maintains a registered

agent in Gwinnett County (which is within this District and Division).




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                            III.   OPERATIVE FACTS

          A. The Subject Pressure Cooker and Defendants’ Safety Assurances

                                           8.

      Defendant Midea America designs, manufactures, markets, imports,

distributes, and sells a wide-range of consumer products, including the subject

“Farberware 7-in-1 Programmable Pressure Cooker,” which specifically includes the

Model Number WM-CS6004W (referred to herein as the “subject Pressure

Cooker”).

                                           9.

      Defendant Midea America touts that the subject Pressure Cooker is designed

with “protection features” that purport to keep the lid from being opened while the

unit is under pressure. 2

                                           10.

      For example, Defendant Midea America claims that the subject Pressure

Cooker includes a “mechanical safety feature that locks the lid in place with the inner

ring, once enough pressure builds up” to keep the lid from being opened while the


2
       See Farberware 7-in-1 Programmable Pressure Cooker Owner’s Manual at
P. 9, attached as Exhibit A.
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unit is under pressure and that the “[l]id can only be removed once pressure level

lowers to required levels.” 3

                                          11.

      Despite Defendant’s claims of “safety,” it designed, manufactured, marketed,

imported, distributed and sold, both directly and through third-party retailers, a

product that suffers from serious and dangerous defects. Said defects cause

significant risk of bodily harm and injury to their consumers.

                                          12.

      Specifically, said defects manifest themselves when, despite Defendant’s

statements, the lid of the subject Pressure Cooker is removable with built-up

pressure, heat and steam still inside the unit. When the lid is removed under such

circumstances, the pressure trapped within the unit causes the scalding hot contents

to be projected from the unit and into the surrounding area, including onto the

unsuspecting consumers, their families and other bystanders. Ms. Frayer-Evans was

able to remove the lid while the subject Pressure Cooker retained pressure, causing

her serious and substantial bodily injuries and damages.




3
      Id.
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                                            13.

      Defendant knew or should have known of these defects but has nevertheless

placed profit ahead of safety by continuing to sell the subject Pressure Cookers to

consumers, failing to warn consumers of the serious risks posed by the defects, and

failing to timely recall the dangerously defective pressure cookers regardless of the

risk of significant injuries to Plaintiff and consumers like her.

                                            14.

      Defendant ignored and/or concealed its knowledge of these defects in the

subject Pressure Cookers from the Plaintiff in this case, as well as the public in

general, in order to continue generating a profit from the sale of said Pressure

Cookers, demonstrating a callous, reckless, willful, depraved indifference to the

health, safety and welfare of Plaintiff and consumers like her.

                                 B. The Subject Incident

                                            15.

      By reason of the forgoing acts or omissions, Ms. Frayer-Evans and/or her

family purchased the subject Pressure Cooker with the reasonable expectation that

it was properly designed and manufactured, free from any defects of any kind, and

that it was safe for their intended, foreseeable use of cooking.

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                                           16.

      Plaintiff used the subject Pressure Cooker for its intended purpose of

preparing meals for herself and/or family and did so in a manner that was reasonable

and foreseeable by Defendant.

                                           17.

      On or about January 3, 2024, Plaintiff suffered serious and substantial burn

injuries as the direct and proximate result of the subject Pressure Cooker’s lid being

able to be opened while the Pressure Cooker was still under pressure, during the

normal, directed use of the Pressure Cooker, allowing its scalding hot contents to be

forcefully ejected from the Pressure Cooker and onto Plaintiff.

                                           18.

      Plaintiff suffered first degree burns on her thighs and second degree burns on

her chest as a result of the scalding hot contents of the subject Pressure Cooker

landing on her skin, requiring immediate hospitalization.

                                           19.

      The subject incident occurred as a result of the failure of the subject Pressure

Cooker’s supposed “safety measures,” which purport to keep the consumer safe

while using the Pressure Cooker. In addition, the incident occurred as the result of

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Defendant’s failure to redesign the subject Pressure Cooker, despite the existence of

economical, safer alternative designs.

                                           20.

      Further, the subject Pressure Cooker was defectively designed and

manufactured by Defendant in that it failed to properly function as to prevent the lid

from being removed with normal force while the unit remained pressurized, despite

the appearance that all the pressure had been released, during the ordinary,

foreseeable, and proper use of cooking food with the product; placing the Plaintiff,

her family, and similar consumers in danger while using the Pressure Cooker.

                                           21.

      Defendant’s subject Pressure Cooker possesses defects that make them

unreasonably dangerous for its intended use by consumers because the lid can be

rotated and opened while the unit remains pressurized.

                                           22.

       As a direct and proximate result of Defendant’s intentional concealment of

such defects, their failure to warn consumers of such defects, their negligent

misrepresentation, their failure to remove a product with such defects from the

stream of commerce, and their negligent design of such products, Plaintiff used an

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unreasonably dangerous pressure cooker, which resulted in significant and painful

bodily injuries, including first- and second-degree burns.

                                          23.

      Consequently, Ms. Frayer-Evans seeks damages resulting from the use of the

subject Pressure Cooker as described above, which has caused her to suffer from

serious bodily injuries, medical expenses, physical pain, mental anguish, diminished

enjoyment of life, and other damages.

                               IV.   LEGAL CLAIMS

                                 COUNT ONE:
                             Strict Product Liability

                                          24.

      Plaintiff re-alleges all previous paragraphs and incorporates them herein by

reference.

                                          25.

      At the time of Plaintiff’s injuries, Defendant’s subject Pressure Cooker was

defective and unreasonably dangerous for use by foreseeable consumers, including

Ms. Frayer-Evans.




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                                           26.

       The subject Pressure Cooker was in the same or substantially similar condition

as when it left the possession of the Defendant.

                                           27.

       Plaintiff did not misuse or materially alter the subject Pressure Cooker.

                                           28.

       The subject Pressure Cooker did not perform as safely as an ordinary

consumer would have expected it to perform when used in a reasonably foreseeable

way.

                                           29.

       Defendant is strictly liable to Plaintiff for design defects because the risks

inherent in the subject pressure cooker’s design outweigh its utility, particularly

given the availability of feasible, safer alternative designs that would not impair the

pressure cooker’s functionality. Thus, under Georgia law, the subject pressure

cooker is defective in its design. Specifically:

          a. The subject Pressure Cooker designed, manufactured, sold, and

             supplied by Defendant was defectively designed and placed into the



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            stream of commerce in a defective and unreasonably dangerous

            condition for consumers;

         b. The seriousness of the potential burn injuries resulting from the product

            drastically outweighs any benefit that could be derived from its normal,

            intended use;

         c. Defendant failed to properly market, design, manufacture, distribute,

            supply, and sell the subject Pressure Cookers, despite having extensive

            knowledge that the aforementioned injuries could and did occur;

         d. Defendant failed to warn and place adequate warnings and instructions

            on the subject Pressure Cooker;

         e. Defendant failed to adequately test the subject Pressure Cooker; and

         f. Defendant failed to market an economically feasible alternative design,

            despite the existence of economical, safer alternatives, that could have

            prevented the Plaintiff’s injuries and damages.

                                          30.

      Defendant knew, or should have known, at all times that as a manufacturer,

designer, marketer and seller of new consumer products, the subject pressure cooker

had to be designed, tested, manufactured and marketed so as to minimize risks versus

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utilities, and that with this product, there was grave risk of harm to the user if

Defendant failed to implement sufficient and reliable design components,

safeguards, interlocks or other mechanisms to prevent the pressure cooker’s scalding

hot contents from severely injuring consumers like Plaintiff. The subject pressure

cooker was and is defective by design because the design chosen by Defendant

allows that very danger to occur and lacks adequate safeguards to protect consumers

from harm.

                                           31.

      Upon information and belief, but without the benefit of fact discovery and

pleading in the alternative as specifically allowed by O.C.G.A. § 9-11-8, the design

and warning defects alleged above were the proximate cause of Plaintiff’s injuries

and damages, but those injuries and damages were or may have also been the result

of manufacturing defects in the subject pressure cooker which rendered the pressure

cooker unreasonably dangerous, and not reasonably safe, for its intended use, in that

as fabricated and manufactured by Defendants, the pressure cooker and its related

components were made of materials, or in such dimensions, that they lost the

integrity of their connection and seal so as to allow the scalding hot contents to fly

out of the pressure cooker and onto Plaintiff.

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                                           32.

      Defendants’ actions and omissions were the direct and proximate cause of the

Plaintiff’s injuries and damages.

                                    COUNT TWO:
                                     Negligence

                                           33.

      Plaintiff re-alleges all previous paragraphs and incorporates them herein by

reference.

                                           34.

      Defendant had a duty of reasonable care to design, manufacture, market, and

sell non-defective pressure cookers that are reasonably safe for their intended uses

by consumers, such as Plaintiff and her family. Defendant also had a duty to

adequately warn of dangers posed by a product’s design. These duties applied to the

subject pressure cooker at issue in this case.

                                           35.

      Defendant failed to exercise ordinary care in the manufacture, sale, warnings,

quality assurance, quality control, distribution, advertising, promotion, sale and

marketing of the Subject Pressure Cooker in that Defendant knew or should have


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known that said pressure cooker created a high risk of unreasonable harm to the

Plaintiff and consumers alike.

                                          36.

      Defendant was negligent in the design, manufacture, advertising, warning,

marketing and sale of the subject Pressure Cooker in that, among other things, they:

         a. Failed to use due care in designing and manufacturing the subject

             Pressure Cooker to avoid the aforementioned risks to individuals;

         b. Placed an unsafe product into the stream of commerce;

         c. Aggressively, over-promoted and marketed their pressure cookers

             through television, social media, and other advertising outlets; and

         d. Were otherwise careless or negligent.

                                          37.

      Despite the fact that Defendant knew or should have known that consumers

were able to remove the lid while the subject Pressure Cooker was still pressurized,

Defendant continued to market their pressure cooker to the general public (and

continue to do so). Defendant was additionally negligent in that it failed to give

adequate or proper warnings or instructions, and failed to make appropriate post-sale

marketing efforts to prevent known incidents, such as the one detailed herein.

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Defendant’s negligent acts and/or omissions as detailed in the paragraphs above

were a direct and proximate cause of Plaintiff’s damages complained of herein.

                             COUNT THREE:
        Breach of Implied Warranty for Fitness for a Particular Purpose

                                          38.

       Plaintiff re-alleges all previous paragraphs and incorporates them herein by

reference.

                                          39.

       Defendant manufactured, supplied, and sold their pressure cooker with an

implied warranty that they were fit for the particular purpose of cooking quickly,

efficiently, and safely.

                                          40.

       Members of the consuming public, including consumers such as the Plaintiff,

were the intended third-party beneficiaries of the warranty.

                                          41.

       The subject Pressure Cooker was not fit for the particular purpose as a safe

means of cooking, due to the unreasonable risks of bodily injury associated with

their use.


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                                          42.

      Ms. Frayer-Evans reasonably relied on Defendant’s representations that the

subject Pressure Cooker was a quick, effective, and safe means of cooking.

                                          43.

      Defendant’s breach of the implied warranty of fitness for a particular purpose

was the direct and proximate cause of Plaintiff’s injuries and damages.

                               COUNT FOUR:
                Breach of Implied Warranty of Merchantability

                                          44.

      Plaintiff re-alleges all previous paragraphs and incorporates them herein by

reference.

                                          45.

      At the time Defendant marketed, distributed and sold its pressure cookers to

Ms. Frayer-Evans, Defendant warranted that its pressure cooker was merchantable

and fit for the ordinary purposes for which they were intended.

                                          46.

      Members of the consuming public, including consumers such as Ms. Frayer-

Evans, were the intended third-party beneficiaries of the warranty.


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                                         47.

      Defendant’s pressure cooker was not merchantable and fit for its ordinary

purpose, because it had the propensity to lead to serious personal injuries as

described herein in this Complaint.

                                         48.

      Ms. Frayer-Evans and/or her family purchased and used the subject Pressure

Cooker with the reasonable expectation that it was properly designed and

manufactured, free from any defects of any kind, and that it was safe for their

intended, foreseeable use of cooking.

                                         49.

      Defendant’s breach of implied warranty of merchantability was the direct and

proximate cause of Plaintiff’s injury and damages.

                               COUNT FIVE:
 Violation of the Georgia Fair Business Practice Act; O.C.G.A. § 10-1-390 et.
                                     seq.

                                         50.

      Plaintiff re-alleges all previous paragraphs and incorporates them herein by

reference.



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                                             51.

      The Georgia Fair Business Act (“FBPA”), O.C.G.A. § 10-1-390 et. seq., was

enacted to “protect consumers and legitimate business enterprises from unfair or

deceptive practices in the conduct of any trade or commerce.” O.C.G.A. § 10-1-

390(a).

                                            52.

      At all times material herein, Defendant warranted and represented that its

pressure cooker was safe and free of defects in materials and workmanship and that

they possessed certain “safety features.”

                                            53.

      Defendant’s warranties and representations that its pressure cookers were safe

and free from defects, including that they possessed “safety” devices/systems would

influence a reasonable consumer’s decision whether to purchase the pressure

cookers.

                                            54.

      Defendant’s failure to warn of its pressure cooker’s defects was a material

omission that would influence a reasonable consumer’s decision whether to purchase

their pressure cookers.

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                                          55.

      Ms. Frayer-Evans and/or her family relied on the truth of Defendant’s

warranties and representations concerning the subject Pressure Cookers, and Ms.

Frayer-Evans suffered personal damages as a result of this reliance.

                                          56.

      Had Ms. Frayer-Evans and/or her family been adequately warned concerning

the likelihood that the subject Pressure Cooker’s lid could be removed while

pressurized, they would have taken steps to avoid damages and/or injuries by not

purchasing this product.

                                          57.

      As a result of these violations of consumer protection laws, Ms. Frayer-Evans

has incurred and will incur serious physical injury, pain, suffering, medical and

hospital expenses and other expenses related to the diagnosis and treatment thereof,

for which the Defendant is liable.




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                                  COUNT SIX:
                                Punitive Damages

                                          58.

      Plaintiff re-alleges all previous paragraphs and incorporates them herein by

reference.

                                          59.

      The acts, conduct, and omissions of Defendant, as alleged throughout this

Complaint, were willful and malicious. It is unconscionable and outrageous that

Defendant would risk the health, safety, and well-being of consumers, including Ms.

Frayer-Evans. Despite their knowledge that the lid could be prematurely removed

while the unit remained pressurized, Defendant made conscious decisions not to

redesign, despite the existence of an economically feasible, safe alternative design,

and not to adequately label, warn, or inform the unsuspecting consuming public

about the dangers associated with the use of their pressure cookers. Defendant’s

outrageous conduct rises to the level that Plaintiff should be awarded punitive

damages to deter Defendant from this type of outrageous conduct in the future, as

well as to discourage other defendants from placing profit above the safety of

consumers.


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                                          60.

      Prior to and during the manufacturing, sale, and distribution of their pressure

cookers, Defendant knew that said pressure cooker were in a defective condition as

previously described herein and knew that those who purchased and used their

pressure cookers, including Plaintiff, could experience severe physical, mental, and

emotional injuries.

                                          61.

      Further, Defendant knew that its pressure cookers presented a substantial and

unreasonable risk of harm to the public, including Plaintiff, and as such, Defendant

unreasonably subjected consumers of the same pressure cookers to risk of serious

and permanent injury from their use.

                                          62.

      Despite its knowledge, Defendant, for the purpose of enhancing their profit,

knowingly and deliberately failed to remedy the known defects in their pressure

cookers, and failed to warn the public, including Plaintiff, of the extreme risk of

injury occasioned by said defects inherent in them. Defendant intentionally

proceeded with the manufacturing, sale, distribution and marketing of its pressure



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cookers knowing these actions would expose consumer, such as Ms. Frayer-Evans,

to serious danger in order to advance their pecuniary interest and monetary profit.

                                            63.

        Defendant’s conduct was carried on with willful and conscious disregard for

the safety of the Plaintiff, her family, and consumers like them, entitling the Plaintiff

to punitive damages.

                       DAMAGES SOUGHT BY PLAINTIFF

                                            64.

        Plaintiff re-alleges all previous paragraphs and incorporates them herein by

reference.

                                            65.

        Kera Frayer-Evans seeks recovery of damages from Defendant for past,

present, and future medical bills and expenses, life care needs, and other necessary

expenses incurred that are incident-related, in amounts to be shown by the evidence

at trial.

                                            66.

        Kera Frayer-Evans seeks damages from Defendant for all past, present, and

future pain and suffering resulting from her incident-related injuries, in an amount

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to be determined by the enlightened conscience of the jury, including all past,

present, and future mental and emotional pain and suffering resulting from her

incident-related injuries.

                                           67.

         Kera Frayer-Evans seeks a recovery from Defendant for any diminished future

income and earning capacity proximately flowing from, substantially caused by, or

resulting from the subject incident, as to be shown more fully by the evidence at

trial.

                                           68.

         Kera Frayer-Evans seeks a recovery from Defendant for the loss of full

enjoyment of life and disfigurement she has suffered and will continue to suffer as a

proximate result of the incident and the injuries sustained therein, in an amount to

be determined by the enlightened conscience of the jury.

                                           69.

         Kera Frayer-Evans seeks punitive damages from Defendant in a

constitutionally appropriate amount determined by the enlightened conscience of the

jury to be sufficient to punish, penalize, and deter Defendant for its past misconduct

and to deter them from engaging in similar misconduct in the future.

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                   VI.    PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays:

(a)   That Summons issue requiring the presently-named Defendant to

      appear and Answer this Complaint as provided by law;

(b)   That Plaintiff has a trial by jury;

(c)   That Plaintiff recover from Defendant all damages, economic and non-

      economic, tangible and intangible, general and special, that are

      compensable under Georgia law that are sufficient to compensate fully

      and fairly for all losses proximately caused by the tortious acts and

      omissions of Defendant, to be determined by the enlightened

      conscience of the jury based upon the evidence adduced at trial;

(d)   That punitive damages be awarded against Defendant under O.C.G.A.

      § 51-12-5.1 or other applicable law, as set forth above;

(e)   That all costs be taxed against Defendant; and

(f)   For such other and further relief as this Court deems just and proper.




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           PLAINTIFF DEMANDS A TRIAL BY JURY.

Respectfully submitted, this 25th day of June, 2024.

                                CONLEY GRIGGS PARTIN LLP


                                /s/ Davis Popper
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